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UCM em eM Uhm a omer: toh

United States Bankruptcy Court for the

New Jersey
District of _

(State)

1
Case number (if known) Chapter : L) Check if this is an

amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

+. Debtor's name Graxcell Pharmaceutical LLC

Granules Pharma, LLC
2. All other names debtor used a

in the last 8 years Graxcett USA. tLe

Include any assumed names,
trade names, and doing business _ = - — ———— —<$<—
as names a —

3. Debtor's federal Employer 27 .265341493
Identification Number (EIN) :

4. Debtor's address Principal place of business Mailing address, if different from principal place
of business

650 Grove Road, Unit 109

Number Street Number Street

650 Grove Road

P.O.Box
Paulsboro NJ 08066
City State ZIP Code City “State ‘ZIP Code
Location of principal assets, if different from
principal place of business
Gloucester p
County - _ a = —
Number Street
City State —«- ZIP Code

5. Debtor's website (URL)

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Graxcell Pharmaceutical LLC

Debtor

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Case number (i known)

Name

6. Type of debtor

7. Describe debtor's business

8. Under which chapter of the
Bankruptcy Code is the
debtor filing?

A debtor who is a “small business
debtor” must check the first sub-
box. A debtor as defined in

§ 1182(1) who elects to proceed
under subchapter V of chapter 11
(whether or not the debtor is a
“small business debtor") must
check the second sub-box.

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Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
QO Partnership (excluding LLP)
Q) other. Specify:

A. Check one:

CJ Health Care Business (as defined in 11 U.S.C. § 101(27A))
Q Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
O) Railroad (as defined in 11 U.S.C. § 101(44))

C) Stockbroker (as defined in 11 U.S.C. § 101(53A))

Q) Commodity Broker (as defined in 11 U.S.C. § 101(6))

Q Clearing Bank (as defined in 11 U.S.C. § 781(3))

None of the above

B. Check all that apply:

C) Tax-exempt entity (as described in 26 U.S.C. § 501)

C) investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

C) investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
http://www. uscourts.gov/four-digit-national-association-naics-codes

3 41 2

Check one:

QO Chapter 7
OQ) Chapter 9
@ Chapter 11. Check all that apply:

LJ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
aggregate noncontingent liquidated debts (excluding debts owed to insiders or
affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
recent balance sheet, statement of operations, cash-flow statement, and federal
income tax return or if any of these documents do not exist, follow the procedure in
11. U.S.C. § 1116(1)(B).

Qd The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
less than $7,500,000, and it chooses to proceed under Subchapter V of
Chapter 11, If this sub-box is selected, attach the most recent balance sheet,
statement of operations, cash-flow statement, and federal income tax retum, or if
any of these documents do not exist, follow the procedure in 11 U.S.C.

§ 1116(1)(B)

Oa plan is being filed with this petition.

Q) Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

C) The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
for Bankruptcy under Chapter 11 (Official Form 201A) with this form,

CJ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
12b-2.

Q Chapter 12

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Graxcell Pharmaceutical LLC

Debtor

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Case number (i known)

Name

9. Were prior bankruptcy cases
filed by or against the debtor
within the last 8 years?

if more than 2 cases, attach a
separate list

10. Are any bankruptcy cases
pending or being filed by a
business partner or an
affiliate of the debtor?

List all cases. If more than 1,
attach a separate list.

11. Why is the case filed in this
district?

12. Does the debtor own or have
possession of any real
property or personal property
that needs immediate
attention?

No
Q) Yes. District When Case number
MM/ DD/YYYY
District When Case number
MM/ DD/YYYY
No
O) Yes. Debtor Relationship
District When
MM / DD /YYYY
Case number, if known __
Check all that apply:

Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district.

QA bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

No
QD Yes

Answer below for each property that needs immediate attention. Attach additional sheets if needed
Why does the property need immediate attention? (Check all that apply.)

CD it poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

C) it needs to be physically secured or protected from the weather

CD Itincludes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
assets or other options).

C) other

Where is the property?

Nurmber Street

City State ZIP Code

Is the property insured?
CO) No

CD Yes. insurance agency

Contact name

Phone

= Statistical and administrative information

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Document

Graxcell Pharmaceutical LLC

Debtor

Name

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Case number (# known),

13, Debtor's estimation of
available funds

14. Estimated number of
creditors

15. Estimated assets

16. Estimated liabilities

ba Request for Relief, Declaration, and Signatures

Check one:

() Funds will be available for distribution to unsecured creditors.

@ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

i 1-49

O) 50-99
C) 100-199
C) 200-999

$0-$50,000

C) $50,001-$100,000
CJ $100,001-$500,000
O) $500,001-$4 million

CJ $0-$50,000

C) $50,001-$100,000
CJ $100,001-$500,000
& $500,001-$1 million

C) 1,000-5,000
QO) 5,001-10,000
C) 10,001-25,000

C) $1,000,001-$10 million

C) $10,000,001-$50 million
C) $50,000,001-$100 million
C) $100,000,001-$500 million

C) $1,000,001-$10 million

C) $10,000,001-$50 million
CJ $50,000,001-$100 million
C) $100,000,001-$500 million

C) 25,001-50,000
C) 50,001-100,000
C) More than 100,000

C) $500,000,001-$1 billion

C) $1,000,000,001-$10 billion
CJ $10,000,000,001-$50 billion
() More than $50 billion

C) $500,000,001-$1 billion

C) $1,000,000,001-$10 billion
C4) $10,000,000,001-$50 billion
OC) More than $50 billion

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to

$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17, Declaration and signature of
authorized representative of
debtor

Official Form 201

The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this

petition.

| have been authorized to file this petition on behalf of the debtor.

| have examined the information in this petition and have a reasonable belief that the information is true and

correct.

| declare under penalty of perjury that the foregoing is true and correct.

06/27/2024

MM /DD /YYYY

%/s/Satyanarayana R. Kalagotla Satyanarayana R

Executed on

Signature of authorized representative of debtor

Title Member

Voluntary Petition for Non-Individuals Filing for Bankruptcy

Printed name

Kalagotla

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Debtor

Graxcell Pharmaceutical LLC

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Name

18. Signature of attorney

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X/s/ Roger C. Mattson

Signature of attorney for debtor

Roger C. Mattson

Case number (if known)

Date  __ 06/27/2024
MM /DD /¥¥Y¥

Printed name

Roger C. Mattson

Firm name _

26 Newton Avenue
Number Street —— -

Woodbury NJ 08096
City - — State ~+~-ZiP Code

856-848-4050

Contact phone

RM9791

Bar number

rogermattson1 @ yahoo.com

Email address

State

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